                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 EVERETT CHATTMAN,                                     )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No.:   3:08-CV-454
                                                       )              (VARLAN/SHIRLEY)
 TOHO TENAX AMERICA, INC.,                             )
                                                       )
                Defendant.                             )


                                 MEMORANDUM OPINION

        This civil action is before the Court on defendant Toho Tenax America, Inc.’s Motion

 for Summary Judgment [Doc. 19], in which defendant requests that summary judgment be

 granted in favor of defendant and plaintiff Everett Chattman’s claims of employment

 discrimination on the basis of race under Title VII of the Civil Rights Act of 1964, 42 U.S.C.

 §§ 2000e, et seq., the Tennessee Humans Rights Act, Tenn. Code Ann. §§ 4-21-101, et seq.,

 and 42 U.S.C. § 1981 be dismissed [see Doc. 1-2; Doc. 33].1 In the motion for summary

 judgment, defendant argues that plaintiff has not proved a prima facie claim for failure to

 promote on the basis of race, defendant has legitimate, nondiscriminatory reasons for its

 actions, and plaintiff cannot prove defendant’s stated reasons are pretextual. Plaintiff has

 responded in opposition [Doc. 26], stating that genuine issues of disputed material fact exist.


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          Plaintiff filed his initial complaint on November 4, 2008 alleging claims under Title VII of
 the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. and the Tennessee Humans Rights Act,
 Tenn. Code Ann. §§ 4-21-101, et seq. [see Doc. 1]. On November 24, 2009, the Court granted
 plaintiff’s motion to amend the initial complaint to add a claim under 42 U.S.C. § 1981 [see Doc.
 23]. Plaintiff filed his amended complaint on December 25, 2009 [see Doc. 33].


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 Defendant has filed a reply [Doc. 32], and a supplemental brief [Doc. 40]. The Court has

 carefully considered the pending motion for summary judgment [Doc. 19] in light of the

 relevant law, and the parties’ briefs, supporting materials, and exhibits [Docs. 19, 20, 22, 28,

 32, 40]. For the reasons set forth herein, the Court will GRANT defendant’s motion for

 summary judgment and DISMISS, with prejudice, plaintiff’s claims against defendant.

 I.     RELEVANT FACTS

        In September 2004, plaintiff, who is African American, began working as a shipping

 coordinator for defendant, a company that operates a production facility in Roane County,

 Tennessee (the “Roane County facility”) [Doc. 33, ¶ 2; Doc. 19-2, pp. 44, 50]. On October

 2, 2007, an incident occurred at the Roane County facility between plaintiff and another

 employee, Frank Johnson (“Johnson”) [Doc. 33, ¶¶ 5-22].2 Following this incident, Johnson

 reported to Ben Chandler (“Chandler”), defendant’s vice president of operations, that

 plaintiff had wrapped him in a “bear hug” and slammed him onto the ground, injuring his

 back [Doc. 19-3, pp. 16-17]. Defendant asserts that Johnson was taken to a hospital and an

 incident report for workers’ compensation was completed [Doc. 19-3, pp. 16, 21]. The

 parties do not dispute that defendant’s company safety rules prohibit horseplay and practical

 jokes on the manufacturing floor of the Roane County facility [Doc. 19-2, pp. 42, 137, Ex.

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          Plaintiff asserts that this incident occurred when plaintiff asked Johnson to move boxes of
 product out of the staging area at the Roane County facility [Doc. 33, ¶¶ 6-11]. When Johnson
 laughed and “raised his hand as if he was going to hit Plaintiff” and yelled something at plaintiff,
 plaintiff “stepped to the side of Johnson, hugged him, and, while hugging him,” told Johnson that
 he really needed his help [Id., ¶ 13]. Plaintiff asserts that he had previously joked around in such
 a manner with Johnson and that Johnson was laughing when plaintiff release him [Id., ¶ ¶ 11, 15].


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 2, “TohoTenax America, Inc., Employee Guidebook;” Doc. 19-4, p. 20; Doc. 19-5, pp. 16-

 19].

        Defendant asserts that Chandler and Jeff Tullock (“Tullock”), defendant’s human

 resources manager, who is Caucasian, performed the initial investigation into the incident

 [Doc. 19-4, p. 10; Doc. 19-5, p. 17]. As part of this initial investigation, defendant asserts

 that Chandler, Tullock, and Scotty Smith (“Smith”), defendant’s shipping/planning manager

 and plaintiff’s supervisor, met with two witnesses who gave slightly different accounts as to

 what had occurred between plaintiff and Johnson [Doc. 19-3, pp. 22-27]. Chandler, Tullock,

 and Smith then met with plaintiff.           It is undisputed that at this meeting, plaintiff

 acknowledged wrapping his arms around Johnson and stated that he might have lifted him

 up. However, plaintiff could not verify whether he had “squeezed” Johnson [Doc. 19-2, pp.

 75-76, 93, 138; Doc. 19-3, p. 32].3 Chandler, who was responsible for making disciplinary

 decisions, regarded plaintiff’s conduct as serious and initially recommended that plaintiff be

 terminated [Doc. 19-3, pp. 30, 43]. At the end of the meeting, plaintiff was told the incident

 was a serious matter which could lead to termination. Plaintiff was sent home on paid

 suspension [Doc. 19-2, pp. 78, 107; Doc. 19-3, p. 38].

        On October 2, 2007, before any decision was finalized regarding plaintiff’s

 employment, defendant asserts that Marc Verbruggen (“Verbruggen”), defendant’s president,



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         In his deposition, plaintiff stated that “I’m not sure if I lifted him an inch or two off the
 ground.” [Doc. 19-2, p. 138]. Plaintiff stated that he had his “arms around [Johnson],” but could not
 verify whether he had “squeezed” Johnson [Id., p. 93].

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 called Jeff Lane (“Lane”), vice president of human resources at defendant’s parent company,

 and asked Lane to come speak with witnesses to the incident [Doc. 22, ¶¶ 8,10; Doc. 19-5,

 pp. 24, 49]. Chandler and Tullock testified that Verbruggen had taken them out of the

 investigation and, from that point on, they had nothing to do with any investigation related

 to the incident [Doc. 19-3, pp. 59-60]. Verbruggen also declares that in this second

 investigation, Verbruggen and Lane “conducted their own interviews of the witnesses,

 “started from scratch,” and “wanted to make sure [the second investigation] was impartial

 and the information was seen through a new pair of eyes” [Doc. 22, ¶ 12].

        On October 4, 2007, defendant asserts that Verbruggen and Lane met with plaintiff

 and the witnesses [Doc. 19-5, pp. 31-33]. Both Verbruggen and Lane declare that the

 information given by the witnesses at the second meeting seemed different than that provided

 during the initial investigation [Doc. 22, ¶ 14]. Specifically, one witness could not remember

 exactly what happened during the incident, and the other witness stated that, since the

 incident, Johnson had tried to get other individuals to change their story [Id., ¶ 14].

 Defendant asserts that Verbruggen and Lane met with plaintiff and plaintiff again stated that

 he had put his arms around Johnson but had not slammed him down [Doc. 19-5 pp. 39-41].4

        Defendant asserts that following these meetings, Lane recommended, and Verbruggen

 agreed, not to terminate plaintiff, but instead to give him a final written warning [Doc. 19-5,

 p. 56; Doc. 22, ¶ 19]. The parties do not dispute that plaintiff was told of this decision on


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        Plaintiff testified that if he had body slammed Johnson and injured his neck and back, that
 would have been a terminable offense under defendant’s company safety rules [Doc. 19-2, p. 138].

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 October 9, 2007 [Doc. 19-2, p. 118]. Defendant’s company policy is that a final written

 warning remains in effect for one year after it is issued [Doc. 19-2, Ex. 9 “Associate

 Counseling Notice;” Doc. 19-4, p. 98]. During that one year period, an employee with a final

 warning is not eligible for a promotion or a pay raise [Doc. 19-3, p. 75]. Thus, plaintiff’s one

 year period began on October 9, 2007, the date plaintiff was told of the decision, and ended

 on October 9, 2008 [Doc. 19-2, Ex. 9, “Associate Counseling Notice”]. Upon being

 informed of the final written warning decision, plaintiff returned to work and was paid for

 the time he had missed because of the suspension [Id., pp. 107, 217]. Defendant asserts that

 Johnson also received a final warning and that written documentation of these final warnings

 were provided to both plaintiff and Johnson on December 20, 2007 [Doc. 19-2, p. 122, Ex.

 9, “Associate Counseling Notice;” Doc. 19-3, p. 71; Doc. 19-4, p. 98; Doc. 22, ¶¶ 20, 23].

        Plaintiff’s account of the events following the incident differs. Plaintiff asserts that

 at the initial meeting with Chandler, Tullock, and Smith, he denied attacking Johnson and

 said what had happened between the two was just “horseplay” [Doc. 33, ¶¶ 5-32]. After

 being told of the suspension, plaintiff asserts that he objected to the decision to suspend him

 because he believed he had done nothing wrong as horseplay was common at the Roane

 County facility and because other employees, whom plaintiff asserts were all Caucasian,

 were never disciplined for similar behavior [Doc. 28-1, ¶¶ 3-8]. In regard to Verbruggen and

 Lane’s second investigation, plaintiff asserts that even though Tullock knew that horseplay

 was common, Tullock did not share this information with Verbruggen and Lane [Doc. 19-5,

 p. 15; Doc. 28-1, ¶¶ 19, 27]. Plaintiff claims that Tullock refused to share this information

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 because Tullock is racially prejudiced against plaintiff [Doc. 28-1, ¶ 9]. Plaintiff also asserts

 that Verbruggen and Lane failed to ask Tullock, Smith, or other individuals who engaged in

 horseplay whether it was tolerated, and, because of this failure to inquire, there was no

 realistic, meaningful investigation into horseplay at the Roane County facility. Thus,

 plaintiff asserts, the decision to give plaintiff a final warning was made under a false

 assumption, decided in isolation, and unreasonable discipline for conduct that was

 universally tolerated in others, namely—other Caucasian employees [see Doc. 33].

           Around the same time as the incident between plaintiff and Johnson, Smith, plaintiff’s

 supervisor in the shipping department, was promoted to a new position [Doc. 19-3, p. 62].

 As a result of this promotion, Chandler and Verbruggen contemplated restructuring the

 shipping department at the Roane County facility [Id., pp. 62-64].             As part of this

 restructuring, Smith recommended the creation of a shipping/receiving supervisor position

 to Chandler and recommended that plaintiff fill the position [Id., p. 62]. Despite the

 recommendation, Chandler asserts that he decided not to create the shipping/receiver

 supervisor position [Id., p. 63]. Plaintiff, on the other hand, claims that Chandler would have

 given plaintiff a promotion to the shipping/receiving supervisor position but for the final

 warning which prohibited plaintiff from being promoted for one year [Doc. 28, p. 11].

 However, plaintiff does not dispute that a shipping/supervisor position was never created and

 no employee at the company has ever occupied such a position [Doc. 19-2 p. 227; Doc. 19-3,

 p. 63].



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        On November 5, 2008, plaintiff filed his complaint, alleging that he was denied a

 promotion to the shipping/receiving supervisor position based on his race, and asserting

 claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. (“Title

 VII”), the Tennessee Humans Rights Act, Tenn. Code Ann. §§ 4-21-101, et seq. (the

 “THRA”), and 42 U.S.C. § 1981 (“§ 1981"). Specifically, plaintiff alleges that Tullock acted

 out of racial animus when he denied Verbruggen and Lane access to relevant facts

 surrounding the incident between plaintiff and Johnson and thus, Verbruggen and Lane failed

 to investigate and discover the true facts about the incident. Plaintiff asserts that Tullock’s

 failure to inform Verbruggen and Lane of relevant information turned the decision-makers

 into the “cat’s paw” for Tullock’s racist conduct and resulted in improper and racially

 discriminatory discipline on plaintiff. Plaintiff also asserts that Verbruggen and Lane failed

 to do a meaningful investigation into the incident because they did not pursue the issue of

 horseplay. Thus, plaintiff argues, his final warning was improperly based on Tullock’s racial

 prejudice and Verbruggen and Lane’s lack of a meaningful investigation and resulted in

 plaintiff’s not being given a promotion and any accompanying pay raise he would otherwise

 have received.

 II.    ANALYSIS

        A.     Standard of Review

        Under Federal Rule of Civil Procedure 56(c), summary judgment is proper “if the

 pleadings, the discovery and disclosure materials on file, and any affidavits show that there

 is no genuine issue as to any material fact and that the movant is entitled to judgment as a

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 matter of law.” Fed. R. Civ. P. 56(c). The moving party bears the burden of establishing that

 there is no genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2

 (1986). The court must view the facts and all inferences to be drawn therefrom in the light

 most favorable to the non-moving party. Matsushita Elec. Indus. Co., Ltd., v. Zenith Radio

 Corp., 475 U.S. 574, 587 (1986); Burchett v. Kiefer, 310 F.3d 937, 942 (6th Cir. 2002). To

 establish a genuine issue as to the existence of a particular element, the non-moving party

 must point to evidence in the record upon which a reasonable finder of fact could find in its

 favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Accordingly, the court

 must look “beyond the pleadings and must assess the proof to determine whether there is a

 genuine issue for trial. Burchett, 310 F.3d at 942; see also Matsushita, 475 U.S. at 587. The

 genuine issue must also be material; that is, it must involve facts that might affect the

 outcome of the suit under the governing law. Anderson, 477 U.S. at 248.

        The judge’s function at the point of summary judgment is limited to determining

 whether sufficient evidence has been presented to make the issue of fact a proper question

 for the fact finder. Anderson, 477 U.S. at 249. The judge does not weigh the evidence, judge

 the credibility of witnesses, nor determine the truth of the matter. Id. Thus, “[t]he inquiry

 performed is the threshold inquiry of determining whether there is the need for trial -

 whether, in other words, there are any genuine factual issues that properly can be resolved

 only by a finder of fact because they may reasonably be resolved in favor of either party.”

 Id. at 250.



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        B.      Plaintiff’s Claims Under Title VII and the THRA

        Plaintiff has alleged a claim of failure to promote based on race discrimination under

 Title VII and the THRA.5 Title VII provides that it is unlawful for an employer “to fail or

 refuse to hire or to discharge any individual, or otherwise to discriminate against any

 individual with respect to his compensation, terms, conditions, or privileges of employment,

 because of such individual’s race, color, religion, sex, or national origin[.]” 42 U.S.C. §

 2000e-2(a). The THRA has similar provisions regarding employment discrimination. See

 Tenn. Code Ann. § 4-21-401. The Supreme Court of Tennessee has held that “an analysis

 of claims under the THRA is the same as under Title VII of the Federal Civil Rights Act.”

 Lynch v. City of Jellico, 205 S.W.3d 384, 399 (Tenn. 2006). Thus, the Court equally

 addresses plaintiff’s THRA claims in its discussion of his Title VII claims.

        A plaintiff may establish a claim of racial discrimination under Title VII by presenting

 either direct evidence of discrimination or circumstantial evidence supporting an inference

 of discrimination. DiCarlo v. Potter, 358 F.3d 408, 414 (6th Cir. 2004). Because plaintiff

 has not alleged any direct evidence of discrimination based on race, the Court will apply the

 tripartite burden-shifting framework established by the United States Supreme Court in

 McDonnell Douglas. See Michael, 496 F.3d at 593. Under the McDonnell Douglas

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         Plaintiff states in his complaint that he was “terminated,” an allegation which typically
 constitutes part of an adverse employment action discrimination claim [see Doc. 33, ¶ 28]. See, e.g.,
 McDonnell Douglas Corp. v. Green, 411 U.S. 802 (1973); Sybrandt v. Home Depot, U.S.A., Inc.,
 560 F.3d 553, 557 (6th Cir. 2009). However, given plaintiff’s response to defendant’s motion for
 summary judgment, in which plaintiff argues solely for his failure to promote claim and cites facts
 and legal authority in support of that claim [see Doc. 28], the Court determines that plaintiff has
 based his racial discrimination in employment case on a failure to promote theory.

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framework, a plaintiff bears the initial burden of demonstrating a prima facie claim of

discrimination. Id. If the plaintiff fulfills this burden, the defendant must then put forth a

legitimate, nondiscriminatory reason for its employment action. Id. Finally, if the defendant

meets this obligation, the burden shifts back to the plaintiff to prove that the proffered reason

was pretext for race discrimination. Id. Throughout the burden-shifting analysis, “‘[t]he

ultimate burden of persuading the trier of fact that the defendant intentionally discriminated

against the plaintiff remains at all times with the plaintiff.’” DiCarlo, 358 F.3d at 415

(quoting Texas Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981)).

       To establish a prima facie claim of discrimination based on failure to promote, a

plaintiff must show: (1) he or she is a member of a protected class; (2) he or she applied for

and was qualified for a promotion; (3) he or she was considered for and denied the

promotion; and (4) other employees of similar qualifications who were not members of the

protected class received promotions. See Dews v. A.B. Dick Co., 231 F.3d 1016, 1020-21

(6th Cir. 2000) (citations omitted). Once a plaintiff has established a prima facie claim, the

burden then shifts back to the defendant to articulate a legitimate, nondiscriminatory reason

for its action. Michael, 496 F.3d at 593. If the defendant carries this burden of production,

then the plaintiff must “‘prove that the proffered reason was actually pretext to hide unlawful

discrimination.’” Id. (quoting Carter v. Univ. of Toledo, 349 F.3d 269, 273 (6th Cir. 2003)).




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       1.     Plaintiff’s Prima Facie Claim

       Plaintiff alleges that he was denied a promotion because Verbruggen and Lane made

an improper decision as a result of Tullock’s racial animus towards plaintiff, who is an

African American, and their own improper investigation of the relevant facts surrounding the

incident. Specifically, plaintiff alleges that Tullock intentionally withheld information from

Verbruggen and Lane regarding the October 2, 2007 incident and horseplay at the Roane

County facility and that Lane and Verbruggen failed to properly investigate the incident and

“closed their eyes” to the fact that Tullock was a racist. Thus, according to plaintiff, he was

treated differently than other, Caucasian employees who engaged in horseplay, improperly

disciplined, and deprived a promotion and the pay raise that came with it.

       It is undisputed that plaintiff, an African American and a member of a protected class,

has satisfied the first prong of a prima facie claim. The second prong of a prima facie claim

requires a plaintiff to have “applied and [was] qualified for promotion[.]” Grizzell v. City of

Columbus Div. of Police, 461 F.3d 711, 719 (6th Cir. 2006). The promotion at issue in this

case is the position of shipping/receiving supervisor, a position that was contemplated by

Chandler, but never actually existed.        Plaintiff asserts that Smith, his supervisor,

recommended to Chandler that plaintiff fill this prospective position. However, defendant

asserts that Chandler made the decision that the shipping department should be structured in

a different way, and thus, the position was not created and Smith’s recommendation had no

effect. Plaintiff does not dispute that a shipping/ receiving supervisor position never existed

and does not dispute that no employee currently holds such a position [Doc. 19-2, p. 227;

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Doc. 19-3, p. 63]. Plaintiff also does not dispute that he never applied for this position and

never applied for any other promotion during the 2007-2008 time period [Doc. 19-2, pp. 157-

58].6 Further, plaintiff has acknowledged that he is unsure whether a specific position existed

in 2007 for which he would have wanted to apply [Id., p. 243].

       Regardless of whether Chandler contemplated creating the shipping/receiving

supervisor position, or contemplated placing plaintiff in such a position, the fact that this

position was never created controls the Court’s determination of this prong. A possibility

of a position, Smith’s recommendation of plaintiff for that position if that position had been

created, and Chandler’s alleged acknowledgment of Smith’s recommendation is insufficient

to prove that plaintiff “applied” for the shipping/receiving supervisory or any other position,

especially when plaintiff has acknowledged not applying for any promotion [see Doc. 28-2,

¶ 16]. Accordingly, plaintiff has not satisfied the second prong of his prima facie claim.




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         Plaintiff testified that he never applied for a promotion, but testified that Smith “agreed to
request a promotion for [plaintiff].” [Doc. 19-2, pp. 157-58]. Plaintiff also testified that Smith
requested the promotion, and that Tullock “shot it down.” [Id.]. However, Chandler, and not
Tullock, made the decisions relative to promotions and restructuring in the shipping department
[Doc. 19-3, pp. 63-64; Doc. 22, ¶ 27]. Plaintiff has submitted a declaration from Smith in which
Smith declares that following Smith’s recommendation, Smith “thought at that point that Chandler
had agreed to promote Plaintiff.” [Doc. 28-2, ¶ 15]. Inconsistently, Smith also states in this
declaration that “after Chandler agreed to Plaintiff being promoted” and Chandler “initially agreed”
to plaintiff’s promotion [Id., ¶¶ 16, 20]. However, Smith also stated, in a deposition, that he did not
know who made the decision to restructure the department after he was promoted [Doc. 32-2, pp.
97-99]. Given Smith’s inconsistent statements, the undisputed fact that the position was not actually
created, and Chandler’s testimony that he rejected Smith’s recommendation, the Court determines
that, at most, all Smith’s declaration shows is that Chandler agreed to consider plaintiff for the
position, if the position was created.

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       The third prong of a prima facie claim requires that a plaintiff be “considered for and

denied the promotion[.]” Grizzell, 461 F.3d at 719. Here, plaintiff cannot prove that the

position of shipping/receiving supervisor was ever created. Defendant has acknowledged

that the position was considered by Chandler and that it was ultimately rejected because

Chandler determined the shipping department should be restructured differently. Plaintiff

has claimed that Chandler considered plaintiff for the shipping/receiving supervisor position

if it was created. However, even assuming Chandler had intended to promote plaintiff to this

position, had the position been created, plaintiff has provided no evidence that the position

was created, and thus, provided no evidence that plaintiff was “considered” for a promotion.

The possibility of a new position to which plaintiff might be promoted is not enough to

satisfy this third prong. Smith’s statement in his declaration, that he “thought” Chandler

agreed with his recommendation to promote plaintiff only shows Smith’s opinion of whether

he thought Chandler had agreed with him to promote plaintiff if the position was created

[Doc. 28-2, ¶ 15]. However, because it is undisputed that the position was not created, and

undisputed that plaintiff did not apply for this position or any other promotion, the relevant

decision-maker in regard to promotions—Chandler—was unable to consider plaintiff for a

promotion as no such promotional opportunity actually existed. Accordingly, plaintiff has

not satisfied the third prong of his prima facie claim.

       The fourth prong of a plaintiff’s prima facie claim requires that “other employees of

similar qualifications who were not members of the protected class received promotions.”

Grizzell, 461 F.3d at 719. As stated previously, it is undisputed that defendant never created

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a shipping/receiving supervisor position. Plaintiff has also acknowledged that he is unaware

of anyone who is currently occupying or ever occupied such a position. Plaintiff has brought

no evidence to the Court’s attention that other, non-protected employees of similar

qualifications received promotions and therefore, plaintiff has failed to satisfy the fourth

prong of his prima facie claim. Accordingly, after considering the proof on all four prongs,

the Court concludes that plaintiff has failed to establish a prima facie claim of racial

discrimination based on failure to promote.

       2.     Defendant’s Legitimate, Nondiscriminatory Reason

       Notwithstanding the Court’s determination that plaintiff has not proven a prima facie

claim for racial discrimination, the Court will now determine, arguendo, whether defendant

has satisfied its burden of production and articulated legitimate, nondiscriminatory reasons

for its actions in issuing the final warning and not promoting plaintiff. Michael, 496 F.3d at

593.

       First, in regard to defendant’s decision to issue the final written warning, defendant

asserts that Lane and Verbruggen’s decision was legitimate and nondiscriminatory because

defendant’s safety rules prohibit horseplay and practical jokes on the manufacturing floor and

because the safety rules also state that such conduct can result in a termination. An

employee’s work violations may constitute a legitimate, nondiscriminatory reason for an

adverse employment decision. See Walborn v. Erie County Care Facility, 150 F.3d 584, 588

(6th Cir. 1998) (finding a legitimate nondiscriminatory reason when a plaintiff was

reprimanded for un-excused absences and the company’s policy stated that employees with

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un-excused absences were subject to discipline). Plaintiff has also acknowledged putting his

arms around Johnson and acknowledged that he might have lifted Johnson up off the ground

and might have squeezed him. This conduct could reasonably fall within defendant’s

prohibition against horseplay in the company safety rules. Accordingly, because plaintiff

could have been terminated for his conduct under the safety rules, the Court determines that

the decision to give plaintiff a final warning for his conduct constitutes a legitimate,

nondiscriminatory reason.

       Second, in regard to defendant’s decision not to create the shipping/receiving

supervisor position, defendant asserts that Chandler did not award plaintiff the position

because it was never created. Further, defendant asserts that Chandler had already made up

his mind how to restructure the shipping department before Smith recommended plaintiff

for the position.7 In analyzing the business decisions of an employer, the Sixth Circuit does

not require “that the decisional process used by the employer be optimal or that if left no

stone unturned. Rather, the key inquiry is whether the employer made a reasonably informed

and considered decision before taking an adverse employment action.” Smith v. Chrysler

Corp., 155 F.3d 799, 807 (6th Cir. 1998); see also Burdine, 450 U.S. at 256. Thus, a court

will not focus on the soundness of an employer’s business judgment or micro-manage the

process used by employers in making their employment decisions. Smith, 155 F.3d at 807;



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         Even if Chandler made this decision following Smith’s recommendation to Chandler,
plaintiff has not alleged that Chandler had any racial animus and Chandler’s decision would fall
squarely within an employer’s business judgment. See Smith, 155 F.3d at 807.

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Wilkins v. Eaton Corp., 790 F.2d 515 (6th Cir. 1986) (stating that “the fact finder may not

focus on the soundness of the employer’s business judgment”). Accordingly, discerning no

evidence to the contrary, the Court will not second guess Chandler’s decision not to create

the position.

       3.       Pretext

       Having found that defendant has articulated legitimate, nondiscriminatory reasons for

its decisions, the Court will now determine whether those proffered reasons are pretext to

hide unlawful discrimination. Michael, 496 F.3d at 593 (quoting Carter, 349 F.3d at 273).

A plaintiff can establish pretext by demonstrating that the defendant’s proffered reason: (1)

has no basis in fact; (2) did not actually motivate the defendant’s challenged conduct; or (3)

was insufficient to warrant the challenged conduct. Dews, 231 F.3d at 1021 (quotes omitted);

see also Manzer v. Diamond Shamrock Chems. Co., 29 F.3d 1078, 1084-85 (6th Cir. 1994).

       To begin, the Court notes that Tullock is the only individual whom plaintiff has

alleged acted with racial animus. Plaintiff has not alleged any racial bias or discriminatory

motive against Chandler, who made the decision not to create the position [Doc. 19-2, pp.

179, 201; Doc. 19-3, pp. 63-64].        Plaintiff has also not alleged any racial bias or

discriminatory motive against Verbruggen or Lane, who made the decision to give plaintiff




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the final warning [Doc. 19-2, p. 131; Doc. 19-5, p. 56; Doc. 22, ¶ 19].8 While plaintiff has

alleged that Verbruggen did not properly consider certain information about horseplay, and

alleged that Verbruggen did not consider a racist comment by Tullock unrelated to the

incident between plaintiff and Johnson, such allegations are not allegations of improper racial

basis or improper discriminatory motives.

       As to the first test for establishing pretext, plaintiff cannot prove defendant’s actions

had no basis in fact. First, plaintiff has not alleged any evidence that Chandler’s decision

was not based in fact and pursuant to his own business judgment. Second, plaintiff has

admitted to engaging in the conduct which provided the basis for Verbruggen and Lane’s

decision to issue the final warning, admitted that horseplay is a violation of the safety rules,

and admitted that if the decision-makers believed he had picked Johnson up, body-slammed

him to the ground, and injured his back, this would be a terminable offense [Doc. 19-2, 137-

38]. Further, plaintiff has not provided evidence of other similar horseplay situations, not

resulting in discipline, in which an employee reported an injury, was taken to a hospital, and




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         Plaintiff was asked, in his deposition, whether Verbruggen or Lane treated him fairly [Doc.
19-2, p. 131]. Plaintiff replied that both had treated him fairly, as far as he knew [Id.]. However,
in his response, plaintiff asserts that Verbruggen’s “uninterested responses” concerning Tullock’s
alleged racial animus would support “a reasonable jury determination that Verbruggen himself was
a racist” [Doc. 28, p. 14]. The Court disagrees. Plaintiff refers to a “racial joke” that Tullock made
and Verbruggen was aware of, and several allegedly racist comments that Tullock made
approximately a year after the first joke [Doc. 22, ¶¶ 35-41]. However, awareness of Tullock’s
alleged comments, unconnected to the incident between plaintiff and Johnson, does not give rise to
proof of a reasonable inference that Verbruggen himself acted with racial animus towards plaintiff
regarding Verbruggen’s decision to give plaintiff the final warning—a decision in which Tullock
had no involvement.

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a workers’ compensation claim was filed—all of which occurred following the incident

between plaintiff and Johnson.

       The second test for establishing pretext requires additional proof which “tend[s] to

prove that an illegal motivation was more likely than that [reason] offered by the defendant.”

Manzer, 29 F.3d at 1084. Plaintiff asserts that he will present evidence that Chandler would

have given plaintiff the promotion, but for plaintiff’s final warning, and that Chandler had

agreed to create the position and to promote plaintiff [Doc. 29-2, ¶¶ 14-15]. However,

Smith’s statement in his declaration, that he “thought” Chandler had agreed with his

recommendation to promote plaintiff, implies neither “but for” causation nor pretext. See

Ridenour v. Lawson Co., 791 F.2d 52, 57 (6th Cir. 1986) (stating that, in a reduction in force

context, an employee does not have a duty to transfer employees to other positions within the

company); Hartsel v. Keys, 87 F.3d 795, 801 (6th Cir. 1996) (affirming summary judgment

for the defendant when the plaintiff admitted that her supervisor never said or did anything

to indicate a discriminatory motive or bias). Moreover, plaintiff has not alleged that

Chandler had any racial bias or discriminatory motive in deciding not to create the position

and has not alleged any proof of an additional, illegal motive on the part of Verbruggen or

Lane, agreeing that they treated him fairly.

       As to the third test for establishing pretext—whether the reasons given by defendant

were insufficient to motivate the challenged conduct, the plaintiff must present “evidence that

other employees, particularly employees not in the protected class, were not fired even

though they engaged in substantially identical conduct to that which the employer contends

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motivated its discharge of the plaintiff.” Manzer, 29 F.3d at 1084. In regard to Chandler’s

decision not to create the position, plaintiff has not shown that other, non-protected but

similarly situated employees obtained promotions while plaintiff did not.

       In regard to the decision to give plaintiff the final warning, plaintiff asserts that other

employees at the Roane County facility—Caucasian employees—engaged in horseplay and

did not face disciplinary action. In support, plaintiff states that Smith and another employee,

Connie Jackson (“Jackson”), described horseplay as being a common part of the culture at

the Roane County facility [Doc. 22, ¶ 30; Doc. 28-2, ¶¶ 6-8]. Plaintiff also describes three

incidents in which Caucasian employees engaged in horseplay but no disciplinary action was

taken: (1) Johnson, coming into plaintiff’s office and grabbing him “to scare him or joke with

him;” (2) Johnson, punching plaintiff, driving a forklift towards plaintiff, and pretending like

he was going to run over plaintiff; and (3) Tim Poach, a co-worker, punching plaintiff on the

shoulder [Doc. 28, pp. 6-7]. Defendant asserts that these incidents are distinguishable from

the October 2, 2007 incident between plaintiff and Johnson because Johnson reported his

injury to management, Johnson was taken to a hospital, and a workers’ compensation claim

was filed. Further, both Smith and plaintiff stated that a situation in which an employee had

to go to the doctor or file a workers’ compensation claim was “more serious.” [Doc. 19-2 &

Doc. 32-1, pp. 173-74; Doc. 32-3, pp. 44-45]. Moreover, Johnson, the Caucasian employee

who engaged in the horseplay with plaintiff and who is mentioned in the two other incidents

discussed by plaintiff, was also given a final warning for his conduct arising out of the

October 2, 2007 incident.

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       Given these distinguishing characteristics—plaintiff’s statements that Chandler,

Verbruggen and Lane treated him fairly and did not act with racial animus, Johnson’s report

of the horseplay, Johnson’s injury and the workers’ compensation claim, the discipline

imposed on Johnson, and because plaintiff has produced no other similar incident in which

an injury was reported and a workers’ compensation claim filed—the Court finds that

plaintiff has not proven that defendant’s stated reasons were pretextual.

       4.      The Theory of “Cat’s Paw” Liability

       The Sixth Circuit has held that a plaintiff may challenge an employer’s improper

treatment of him even if the ultimate decision-maker was neutral and not motivated by racial

animus. See Madden v. Chattanooga City Wide Serv. Dept., 549 F.3d 666, 677 (6th Cir.

2008); see also Christian v. Wal-Mart Stores, Inc., 252 F.3d 862, 877 (6th Cir. 2001).9 Such

a situation refers to what is known as a “cat’s paw” theory of liability in which a biased

subordinate employee, who lacks decision-making power, influences the unbiased decision-

maker to make an adverse hiring decision, thereby hiding the subordinate’s discriminatory

intent. EEOC v. BCI Coca-Cola Bottling, Co., 450 F.3d 476, 484 (10th Cir. 2006); see also

Arendal v. City of Memphis, 519 F.3d 587, 604 n.13 (6th Cir. 2008).10

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        In Madden, the Sixth Circuit upheld, following a bench trial, the district court’s
determination that the discriminatory animus of reporting supervisors could be imputed to the
ultimate decision-makers because “a reasonable factfinder could find a causal nexus between the
ultimate decision maker’s decision to terminate [the plaintiff] and his supervisor’s discriminatory
animus.” Madden, 549 F.3d at 677.
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          “When an adverse hiring decision is made by a supervisor who lacks impermissible bias,
but that supervisor was influenced by another individual who was motivated by such bias . . . the
employer may be liable under a ‘rubber-stamp’ or ‘cat’s paw’ theory of liability.” Arendal, 519 F.3d
at 604 n.13.

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       Here, plaintiff has alleged that Tullock, acting with racial animus, reported plaintiff’s

horseplay to Verbruggen and Lane, the ultimate decision-makers, without also reporting that

horseplay was common among other employees.               Plaintiff asserts that even though

Verbruggen and Lane performed their own investigation into the incident, they relied on

Tullock, and thus “acted as the conduit of [Tullock’s] prejudice—his cat’s paw.” Madden,

549 F.3d at 677 (citation omitted). Thus, plaintiff asserts, because Tullock was in a position

to shape Verbruggen and Lane’s decision, and because their decision shaped Chandler’s

decision, there are genuine issues of material fact as to whether plaintiff was denied a

promotion based on his race.

       When a plaintiff challenges an employment decision as motivated by a supervisor’s

discriminatory animus, the plaintiff must offer evidence of a “causal nexus” between the

ultimate decision-maker’s decision and the supervisor’s discriminatory animus. Madden, 549

F.3d at 677; see also Wilson v. Stroh Cos., 952 F.2d 942, 946 (6th Cir. 1992). Here, the

relevant decisions the Court will consider are (1) Chandler’s initial recommendation that

plaintiff be terminated; (2) Verbruggen and Lane’s decision that plaintiff be placed on final

warning status; and (3) Chandler’s decision not to create the position and promote plaintiff.

       As to the first and second decisions, it is undisputed that Chandler was the decision-

maker in regard to Chandler’s initial recommendation to terminate plaintiff, and Chandler’s

decision not to create the position of shipping/receiving supervisor. As to Chandler’s initial

termination recommendation, defendant asserts that Chandler did not rely upon any

information Tullock provided but participated in the same interviews as Tullock and relied

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upon his own assessment of the situation in making his recommendation. Plaintiff has not

provided any evidence to the contrary. As to Chandler’s decision not to create the position,

as discussed previously by the Court, this was a business judgment decision and plaintiff has

provided no evidence that it was racially motivated. Accordingly, the Court finds no causal

nexus between Tullock’s alleged racial animus and Chandler’s initial recommendation that

plaintiff should be terminated or Chandler’s decision not to create the position.

       The Court now turns to Verbruggen and Lane’s decision to issue a final written

warning instead of Chandler’s recommendation that plaintiff be terminated. Plaintiff asserts

that Tullock was in a position to shape Verbruggen and Lane’s decision regarding plaintiff,

that Tullock did not inform them that horseplay was common, and that Verbruggen and Lane

based their decision on improper considerations influenced by the information provided by

Tullock, a racist subordinate. Defendant, on the other hand, asserts that Verbruggen and

Lane took Chandler and Tullock completely out of their investigation, conducted new

interviews with the witnesses, reached their own conclusions, and arrived at their decision

by an independent investigation, without any reliance on any information provided by

Tullock. Further, defendant asserts, Verbruggen and Lane rejected Chandler’s initial

recommendation to terminate plaintiff because they were troubled by inconsistencies in the

stories of the witnesses.

       While plaintiff has alleged that Tullock was in a position to influence Verbruggen and

Lane’s decision and that they “relied” on such information, plaintiff has not provided any

evidence showing any reliance or influence. To the contrary, Verbruggen, Lane, Chandler,

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and Tullock all state that the second investigation was separate from the first investigation

and that Verbruggen and Lane essentially looked at the facts surrounding the incident with

new eyes. This is supported by defendant’s assertions that Verbruggen and Lane re-

interviewed the witnesses, reversed Chandler’s previous recommendation to terminate

plaintiff’s employment, and also decided to give Johnson, who is Caucasian, a final warning.

Beyond the statement that Tullock influenced Verbruggen and Lane’s decision, or helped

shape it, plaintiff has failed to show any evidence of a causal connection between Tullock’s

racial animus and Verbruggen and Lane’s decision.

       C.     Plaintiff’s Claim Under § 1981

       Plaintiff also asserts a claim under § 1981 for employment discrimination based on

race [see Doc. 33]. Section 1981 provides that:

              All persons . . . shall have the same right . . . to make and enforce
              contracts, to sue, be parties, give evidence, and to the full and equal
              treatment of all laws and proceedings for the security of persons and
              property as enjoyed by white citizens, and shall be subject to like
              punishment, pains, penalties, taxes, licenses and extractions of every
              kind, and to no other.

42 U.S.C. § 1981. The general elements of a prima facie claim under § 1981 are the same

as for actions arising under both Title VII. See Noble v. Brinkler Int’l, Inc., 391 F.3d 715,

720 (6th Cir. 2004). However, under § 1981, a plaintiff must demonstrate intentional or

purposeful discrimination throughout the prima facie claim and in the pretextual analysis.

General Bldg. Contractors Ass’n, Inc. v. Pennsylvania, 458 U.S. 375, 389-90 (1982); see

also Brown v. Ohio State Univ., 616 F. Supp. 2d 740, 749 (S.D. Ohio 2009). In order to


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defeat a request for summary judgment on a § 1981 claim, a plaintiff is required to prove

purposeful discrimination by specific evidence of discriminatory purpose. Anderson, 477

U.S. at 256 (stating that the nonmoving party cannot rest on mere allegations or denials and

requiring specific facts showing that there is a genuine issue for trial).

       The Court can discern no such evidence of intentional or purposeful discrimination

on the basis of the pleadings and supporting evidence submitted by the parties. Tullock was

not the decision-maker in regard to any decision regarding plaintiff’s employment and

plaintiff has not shown any racial bias or discriminatory motive on the part of Chandler,

Verbruggen, or Lane. Plaintiff’s allegations that Verbruggen and Lane were influenced by

Tullock’s alleged racism does not constitute evidence of purposeful discrimination,

particularly because Verbruggen and Lane performed their own independent investigation.

And finally, plaintiff’s assertion that Verbruggen did not properly consider the information

he had regarding horseplay does not constitute evidence of purposeful racial discrimination,11

but an assertion that Verbruggen should have made a different decision based on information

available to him. This is not an assertion that Verbruggen and Lane’s decision was

improperly based on race, but an argument pertaining to Verbruggen’s focus in his decision-

making process. A disagreement with the weight Verbruggen attached to various pieces of




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         Verbruggen also stated that he had received information regarding horseplay from Jackson
and Smith and that such information did influence his decision in conducting a second independent
investigation [Doc. 22, ¶¶ 8-10].

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information available to him, without evidence of purposeful discrimination based on race,

is insufficient to support a claim for purposeful racial discrimination under § 1981.

III.   CONCLUSION

       Accordingly, and for the reasons set forth herein, defendant Toho Tenax America,

Inc.’s Motion for Summary Judgment [Doc. 19] is hereby GRANTED and plaintiff Everett

Chattman’s claims of employment discrimination on the basis of race under Title VII, the

THRA, and § 1981will be DISMISSED with prejudice. The parties shall bear their own

costs. An appropriate order will be entered.

       ORDER ACCORDINGLY.


                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




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